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6    Attorney for Plaintiff M.L.H.
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8                        UNITED STATES DISTRICT COURT
9                      CENTRAL DISTRICT OF CALIFORNIA
10

11
     M.L.H. by and through her guardian ad       Case No. 20-cv-04477-SB-(KSx)
12   litem CLAUDIA SUGEY CHAVEZ as
     successor in interest to decedent
13   DANIEL HERNANDEZ, et al.
                         Plaintiff,              RE-NOTICE OF MOTION AND
14
                                                 MOTION TO COMPEL
15                                               DISCOVERY; MOTION FOR
     vs.                                         MONETARY SANCTIONS; RULE
16                                               37-2.2 STIPULATION
17
                                                 HONORABLE KAREN L.
18                                               STEVENSON
19
     CITY OF LOS ANGELES; LOS                    DATE: 5/14/2021
     ANGELES POLICE DEPARTMENT
20   TONI MCBRIDE; and DOES 1-10.                TIME: 10:00 AM
                                                 CTRM: 580
21
                                                 DCO:6/22/2021
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                        Defendants.              TRIAL DATE:10/26/2021
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     Case 2:20-cv-04477-SB-KS Document 52 Filed 04/23/21 Page 2 of 2 Page ID #:389



1           TO DEFENDANTS AND TO THEIR ATTORNEYS OF RECORD:
2          PLEASE TAKE NOTICE THAT on Friday, May 14, 2021, at the hour of
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     10:00 a.m. or as soon thereafter as Counsel may be heard in Courtroom “580” of
4
     the above referenced Court located at Roybal Federal Building and Courthouse,
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6    255 E. Temple St., Los Angeles, CA 90012, Plaintiff will and does hereby move
7    this Court for an Order overruling defendants’ objections to discovery and
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     compelling complete responses to Plaintiff’s Requests for Production of Records
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     and Special Interrogatories as set forth in the appended Joint Stipulation.

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           In addition, Plaintiff seeks an award of monetary sanctions in accordance
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     with FRCP 37(a) and Local Rule 37-4 by reason of defense counsel’s boilerplate
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14   objections and delays in discovery.

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           Said motion is based on this Notice, the records, papers and files in this case,
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17
     and the Discovery Stipulation served and filed herewith, as well as such oral and

18   documentary evidence as may be produced at the hearing on the Motion.
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     DATED: April 23, 2021
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21                                          MKRTCHYAN LAW
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23                                          By:      /s/ Narine Mkrtchyan

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                                               NARINE MKRTCHYAN
                                               Attorney for Plaintiff M.L.H.
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